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                                                                 EXHIBIT A
                                     In re New Century TRS Holdings, Inc. Case No. 07-10416-KJC (Chap. 11)
                           Movant: U.S. Bank National Association, as Trustee for the Structured Asset Corporation Mortgage Loan Trust, 2006-NC1
                                                                        D&G Reference: 211881

                                                             Original              Current
 Loan No.        Mortgagors            Loan Date                                                      Current Value                           Property Address
                                                            Loan Amt               Payoff

1100181089    Altagracia Sanchez       1/31/2006           284,800.00            318,027.17             169,000.00         152 Lyon Street, Patterson, NJ 07522

1100182065    Berlyn T. Cooper        12/15/2005           156,000.00            171,861.88             249,900.00         27 Arch Street, Providence, RI 02907
                                                                                                                           3953 Big Dalton Road, Baldwin Park, CA
1100182394      Raquel Padilla         1/31/2006           324,000.00            357,280.21             385,000.00
                                                                                                                           91706
1100190418     Candida Grullon         2/28/2006           278,400.00            318,539.08             272,900.00         187 Andover Street, Lawrenceville, MA 01843

1100180601      Matilde Coca          12/27/2005           392,000.00            419,180.49             469,000.00         534 536 Gregory Avenue, Passaic, NJ 07055

1100181877      Obinna Eneh            7/15/2005           279,920.00            282,767.98             335,000.00         1 City View Lane, Quincy, MA 02169
             Lonny Thompson and
1100188103                             2/28/2006           180,000.00            203,641.71             195,000.00         89 Burr Street, East Haven, CT 06512
              Marisa Thompson
1100190404    Sebastiano Marino         3/2/2006           520,000.00            572,469.72             639,900.00         12 Newbury Court, Simsbury, CT 06070

1100183305   Michael J. Bradenbu       1/12/2006            78,280.00             85,142.87             102,900.00         57 Hiler Avenue, Kenmore, NY 14217

1100186336     Marcia E. Hunte          2/9/2006           466,400.00            488,462.01             550,000.00         1470 Egmont Place, Far Rockaway, NY 11691

1100187446     Michael Hughes         12/12/2005           213,828.00            222,144.36             229,000.00         51 Dana Avenue, Mastic, NY 11950

1100187885       Delwer Kazi           1/13/2006           472,000.00            496,897.59             660,000.00         42 40 196th Street, Flushing, NY 11358

1100189824      Greysis Aviles          3/2/2006           292,000.00            321,562.43             354,900.00         9 Baldwin Court, Medford, NY 11763
